Case 2:20-cv-02161-SVW-MRW Document 19-2 Filed 08/05/20 Page 1 of 4 Page ID #:102




                           EXHIBIT B
              Case 2:20-cv-02161-SVW-MRW Document 19-2 Filed 08/05/20 Page 2 of 4 Page ID #:103



                            1        Chad R. Fuller, Bar No. 190830
                                     chad.fuller@troutmansanders.com
                            2        TROUTMAN PEPPER HAMILTON
                                     SANDERS LLP
                            3        11682 El Camino Real, Suite 400
                                     San Diego, CA 92130
                            4        Telephone: 858.509.6056
                                     Facsimile: 858.509.6040
                            5

                            6        Attorney for Defendant
                                     John C. Heath Attorney at Law, PC
                            7        d/b/a Lexington Law Firm
                            8                             UNITED STATES DISTRICT COURT
                            9                           CENTRAL DISTRICT OF CALIFORNIA
                                                        (WESTERN DIVISION – LOS ANGELES)
                           10

                           11
                                     Lucine Trim, et al.,                   Case No. 2:20-cv-02161-SVW-MRW
                           12
                                                     Plaintiffs,            DEFENDANT JOHN C. HEATH
                           13                                               ATTORNEY AT LAW, PC D/B/A
                                           v.                               LEXINGTON LAW FIRM’S
                           14                                               RESPONSES TO PLAINTIFFS’ FIRST
                                     John C. Heath Attorney at Law, PC      SET OF REQUESTS FOR THE
                           15        d/b/a Lexington Law Firm,              PRODUCTION OF DOCUMENTS
                                                                            AND FOR THE INSPECTION OF
                           16                        Defendant.             TANGIBLE THINGS
                           17

                           18

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                           20                                      Judge:
                           21
                                           Defendant John C. Heath Attorney at Law, PC d/b/a Lexington Law Firm
                           22
                                     (“Lexington”), by counsel, submits the following responses to Plaintiffs’ First Set
                           23
                                     of Requests for the Production of Documents and for the Inspection of Tangible
                           24
                                     Things.
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   T ROUTMAN P EPPER                                                                   DEFENDANT’S RESPONSES TO
H AMILTON S ANDERS LLP                                                                 PLAINTIFFS’ FIRST REQUESTS FOR
   11682 E L C A M I N O R E A L
           S U I T E 400                                                               PRODUCTION OF DOCUMENTS
 S A N D I E G O , C A 92130 -2092
                 Case 2:20-cv-02161-SVW-MRW Document 19-2 Filed 08/05/20 Page 3 of 4 Page ID #:104



                                   1
                                   2         Response: Lexington objects to this Document Request to the extent that it
                                   3   seeks information protected by the attorney-client privilege, the attorney work-
                                   4   product doctrine, or any other applicable rule of privilege, immunity or
                                   5   confidentiality provided by law. Lexington objects to this Document Request to the
                                   6   extent it did not call Plaintiff Anthony Frey on May 4, 2018, as alleged in
                                   7   Plaintiffs’ Complaint.
                                   8         Subject to and without waiving the foregoing objections, Lexington responds
                                   9   as    follows:           see   LEXLAW_TRIM000001–LEXLAW_TRIM000002,
                             10        LEXLAW_TRIM001087.
                             11

                             12              Document Request No. 4: All Documents sufficient to Identify all persons
                             13        who You (or a third-party acting on Your behalf or for Your benefit) caused to be
                             14        called on their cellphones using the same equipment that was used to call Plaintiffs
                             15        where prior express consent to call the person was obtained in the same manner as
                             16        You claim prior express consent was obtained to call Plaintiff [sic].
                             17

                             18              Response [CONFIDENTIAL]:
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   T ROUTMAN P EPPER
H AMILTON S ANDERS LLP                                                      -3-        PLAINTIFFS’ FIRST REQUESTS FOR
   11682 E L C A M I N O R E A L
           S U I T E 400
                                                                                       PRODUCTION OF DOCUMENTS
 S A N D I E G O , C A 92130 -2092
                 Case 2:20-cv-02161-SVW-MRW Document 19-2 Filed 08/05/20 Page 4 of 4 Page ID #:105



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                             13              Document Request No. 5: All Documents sufficient to Identify any third
                             14        part(ies) from or through whom You obtained Lead Information regarding the
                             15        Plaintiffs together with Your complete contract or other arrangement or agreement
                             16        with any third part(ies) from or through whom You obtained Lead Information
                             17        regarding the Plaintiff.
                             18

                             19              Response: Lexington objects to this Document Request to the extent that the
                             20        phrase “other arrangement or agreement” is vague and ambiguous. Lexington
                             21        further objects to the extent this Document Request is overbroad and seeks
                             22        documents not relevant to any party’s claims or defenses. Lexington further objects
                             23        to the extent this Document Request calls for confidential and/or private
                             24        information relating to third parties. Lexington objects to the extent the request
                             25        calls for documents that contractually require a third party’s consent prior to
                             26        production.
                             27              Subject to and without waiving the foregoing objections, Lexington responds
                             28        as follows: see LEXLAW_TRIM001043–LEXLAW_TRIM001050.
   T ROUTMAN P EPPER                                                                 DEFENDANT’S RESPONSES TO
H AMILTON S ANDERS LLP                                                     -4-       PLAINTIFFS’ FIRST REQUESTS FOR
   11682 E L C A M I N O R E A L
           S U I T E 400
                                                                                     PRODUCTION OF DOCUMENTS
 S A N D I E G O , C A 92130 -2092
